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UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF VIRGINIA

 

Elizabeth Sines, et al.

Plaintiff

vs. Case No: 3:17CV00072

Jason Kessler, et al.

Defendant

AFFIDAVIT OF SERVICE

 

I, Brad Weir, a Private Process Server, being duly sworn, depose and say:

That I have been duly authorized to make service of the Summons, Civil Cover Sheet with Addendum, Complaint, Plaintiffs’ Jury
Demand, Motion for Pro Hac Vice Admission of Roberta A. Kaplan and Proposed Order Granting Pro Hac Vice Admission of
Roberta A. Kaplan in the above entitled case.

That I am over the age of eighteen years and not a party to or otherwise interested in this matter,

That on 11/06/2017 at 8:30 PM, I served Matthew Heimbach with the Summons, Civil Cover Sheet with Addendum, Complaint,
Plaintiffs' Jury Demand, Motion for Pro Hac Vice Admission of Roberta A. Kaplan and Proposed Order Granting Pro Hac Vice
Admission of Roberta A. Kaplan at 3099 Buchanan Road, SE, #411, Cleveland, Tennessee 37323, by serving Matthew Heimbach,
personally.

Matthew Heimbach is described herein as:

Gender: Male Race/Skin: White Age: 30's Weight: 250 Height: 6'0" Hair: Dark Glasses: Yes

T do solemnly declare and affirm under penalty of perjury that I have read the foregoing information set forth herein is correct to
the best of my knowledge, information, and belief.

 

hha . Mele.

Executed On Brad Weir

 

Client Ref Number:N/A
Job #: 1535245

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